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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA

VS.                                                           Case No. 8:OS-CR-365-T-27TBM

SERGIO PORTOCARRERO-REINA; et al.
                                                  1

                                             ORDER

        BEFORE THE COURT is Defendant's Motion to Suppress Custodial Statements (Dkt. 60)

and the Government's response in opposition (Dkt. 94). An evidentiary hearing was conducted on

May 16-17, 2006. At the conclusion of the hearing, the Court announced its findings of fact and

conclusions of law and its ruling. This order memorializes that ruling. The findings and conclusions

of law announced in open court are expressly incorporated herein.

        Upon consideration, Defendant's Motion to Suppress Custodial Statements (Dkt. 60) is

granted to the extent that all statements made by any Defendant in response to questioning by the

U.S Coast Guard boarding party whde on board the Rio Mar I are suppressed, other than statements

 ~dentifyingthemselves and their country of orlgln     To the extent Defendant seeks to suppress

spontaneous statements, the motton is denied.'

        After boarding the Columbian F/V Rio Mar Ion the early morning hours of August 19,2005,

Arturo Portillo, a member oftbe Coast Guard boarding crew, questioned Sergio Portocarrero-Reina,

the Rio Mar's captain, Ulpiano Mlna, the engineer, as well as the other meillbers of the Rlo Mar's


        I
           During the hearing, the Government confirmed that it would not introduce stateme~~ts
                                                                                             made by
crew members while on board the USS Jarrctt. Defendant Portocarrero-Reina withdrew his motion with
respect to statements made at the jail facility in St. Pctersburg.
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crew. Statements were attributed to all Defendants except Leonardo Anchico-Jimenez. The

Government intends to introduce those statements because they allegedly contradict informationon

the ship's papers, physical evidence found on the Rio Mar, and prior statements made by the crew.

In at least one instance, statements are attributed to Portocarrero-Reina and Mina which failed to

disclose a sixth fuel tank. Suffice it to say that the Government intends to introduce these statements

to support its theory that the Rio Mar was engaged in drug trafficking rather than, as the crew

represented, a fishing voyage. The statements are therefore incriminating.

        Defendants contend that the statements were obtained after Defendants had been taken into

custody by the Coast Guard and that Miranda warnings were not administered prior to their

questioning. The Government contends that the boarding ofthe Rio Mar and questioning ofthecrew

was a routine Coast Guard practice and that the crew o f the Rio Mar was never in custody until they

were transferred to the USS Jairett on August 22, 2005.

        The Coast Guard's routine stop, boarding and inspection o f a11 American vessel on the high

seas does not normally rise to the level o f custodial detention triggering the requirement ofhliranda

warnings. US. v. Rioseco, 845 F.2d 299,302-03 ( I lth Cir. 1988)(ernphasisadded) Moreover, that

a Coast Guard boarding party is armed and gathers a vessel's crew in a specific area during a search

o f the vessel "could not lead a reasonable inan to believe that he was in custody." Id.

        With respect to the Rio Mar and her crew, the undisputed facts demonstrate that her stop,

boarding and search was anything but routine. Moreover, the manner in which the crew o f the Rio

Mar was physically restrained and thereafter detained, rose to a level o f detention triggering the

requirement o f Miraniiu warnings, which were not given prior to the questioning. While the

boarding party may have followed Coast Guard protocol, at least from the Coast Guard'sperspective,
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their conduct evidences a degree of force and restraint which can only be characterized as a custodial

restraint tantamount to an arrest.

           For several days prior to the boarding, the Coast Guard had conducted surveillance on the

Rio Mar which was operating several hundred miles beyond Columbia's fishing waters in an area

known for drug trafficking. She was observed trailing a cable from her stem and appeared to be

towing an unidentified object. On August 18,2005, the Columbian government authorized the Coast

Guard to board the Rio Mar and consented to the United States exercising jurisdiction over her after

the Coast Guard advised that it suspected the Rio Mar was engaged in illicit trafficking. Under cover

o f darkness, intended to facilitate surprise, the eight member boarding party conducted an

"unannounced night-time boarding" of the Rio Mar brandishing weapons.

           As the boarding party approached the Rio Mar, she slowed and her deck lights were

illuminated. The boarding party, yelling "Coast Guard, Coast Guard" in Spanish, boarded with

weapons drawn. Some members of the boarding party wore masks pulled down over their faces

which remained until after the Rio Mar was secured. Each of the boarding party was armed with a

9mm handgun. One had a M4 rifle and another a shotgun. With the Coast Guard weapons aimed

 at their heads, the crew of the Rio Mar was assembled, handcuffed and forced to lie on her deck with

their hands behind their heads for 30 to 45 minutes while the boarding party conducted a sweep of

the Rio Mar. The initial physical restraint of the crew by armed force was consistent with the degree

of restraint associated with a fonnal arrest, not a mere investigatory detention as the Government

 argues.

           Although the handcuffs were eventually removed, the crew remained confined under armed

 guard for the next three and a half days. The moment the Coast Guard boarding team boarded the
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Rio Mar on August 19, they exercised actual control over her and her crew. That control was

maintained through August 22, when the crew was transfened to the Janett.

        A suspect is in "custody," for purposes of Mivanda, if it is evident that "under the totality of

the circumstances, a reasonable man in the suspect's position would feel a restraint on his fieedom

o f movement fairly characterized as that 'degree associated with a formal arrest' to such extent that

he would not feel free to leave." U S . v. Rioseco, 845 F.2d 299, 303 (I lth Cir. 1988)(citing U.S. v.

Phillips, 812 F.2d 1355, 1360 (1 1th Cir. 1987).

        Here, the facts dictate no other conclusion but that the Rio Mar's crew was effectively

arrested at gunpoint and that a reasonable man in their position would have felt restrained to the

degree associated with a formal arrest. The degree of force used to physically restrain the crew is

characteristic of a suspect's arrest. After the boarding, they were confined to the berthing and galley

areas of the Rio Mar. They were not free to leave that area without permission and then only with

 an anlled guard. Until they were transferred to the Janett nearly four days later, the Rio Mar crew

could not go topside or even use the bathroom without an armed escort. For the Government to

 argue that they were not in custody is disingenuous. Their confinement was tantamount to having

been placed in a modern day jail pod, where inmates cook for theniselves, are free to walk around

 the pod and associate together, but all the while being confined to a secure space.

        This Court acknowledges the armed boarding and mustering of the Rio Mar's crew in a

 specific area during the initial search ordinarily would not lead a reasonable man to believe that he

was in custody. U.S. v. Rioseco, supra, U.S. v. Kellev, 451 F.Supp 631 (D.C. Puerto Rico, 1978).

 As discussed, the boarding ofthe Rio Mar was anything but a routine safety and inspection boarding,

however. The Janett was on a drug interdiction mission incident to Operation Panama Express,
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engaged in a law enforcement capacity. Indeed, the boarding party was designated as a law

enforcement unit, according to Arturo Portillo. The Jarrett had surveilled the Rio Mar for three days,

suspecting her of being engaged in drug trafficking. The Jarrett advised the Columbian Navy of its

suspicions when it requested the Columbian government's consent to board the Rio Mar.

        The stop and boarding of the Rio Mar was undisputedly a law enforcement action, as the

boarding party members well knew. Their testimony that they were not gathering information to

build a case is simply incredible andunworthy of belief. The witnesses confirmed that the Rio Mar

had been stopped and boarded so a search for cable and chafing gear could be conducted. Moreover,

they undoubtedly knew that their questioning of the crew, under the guise of routine boarding

protocol, was reasonably likely to elicit incriminating responses. At a minimum, they reasonably

knew that the 'ktandard" questions wouldelicit responses consistent with an innocent fishing voyage

and inconsistent with the physical evidence they had observed with respect to the Rio Mar.

        Notwithstanding the obvious, the Government's witnesses insisted on describing the

boarding and questioning of the Rio Mar's crew as consistent with Coast Guard protocol for routine

 safety and document inspection hoardings. Mr. Portillo, for example, had difficulty answering

 straightforward questions about the boarding crew's use of force, insisting on qualifying his answers

 with official Coast Guard jargon. On more than one occasion, he was directed to answer questions

directly. In some instances, he would not or could not recall specific facts, such as whether any of

 the boarding crew carried rifles or shotguns. Mr. Kevin Joseph, on the other hand, readily recalled

that one member carried a M4 and another a shotgun, as was customary for hoardings in the Eastern

Pacific. While this in no way suggests that either of the Government witnesses was untruthful,

 Portillo's unwillinyless to answer questions directly without qualification diminished persuasiveness
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of the Government's presentation.

        While the Government maintains that the Coast Guard boarding party followed routine

boarding protocol and that the use of force was reasonable and necessary to protect the boarding

party and secure the Rio Mar, no witness testified that it was routine to engage in the degree of force

used by the Janett's boarding party. Even if the force used was reasonable, that has no bearing on

whether the Rio Mar's crew was restrained to the degree associated with a formal arrest or diminish

the custodial restraint involved, for purposes ofMiranda. Likewise, militaryjargon and protocol are

not determinative of whether the crew was in "custody" for purposes of Miranda.

        It is apparent to this Court that the use of force in this case was intended to and did restrain

the Rio Mar's crew as if they were in custody incident to a criminal investigation. The manner in

which the Rio Mar was boarded, even if routine from the standpoint of an unannounced night time

boarding, is not determinative of whether the crew as in custody. Those circumstances do confirm

that the Coast Guard was treating the boarding as a criminal investigation, rather than a routine safety

inspection, as the witnesses seemed to insist.

        Moreover, as evidenced by the testimony of the Government's witnesses, a routine boarding

and inspection does not typically take three to four days, as it did in this case. It was apparent to the

Court from the cross examination of the Government witnesses that the boarding and inspection of

the Rio Mar could have been accomplished in no more than two days, had it not been for the delay

attendant to the completion of the Coast Guard's criminal investigation. Of note is that the

submersible had been located late on the August 19, only 19 hours after the boarding of the Rio Mar.

Locating the submersible filled withcocaine ostensibly confirmed the suspicion that the Rio Mar had

been towing illicit cargo. By the time the Jarrett reached the submersible, it was 60 miles from the
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Rio Mar. The Coast Guard boarding crew on the Rio Mar was directed to change course toward the

Jarrett and then sailed the Rio Mar those 60 miles to re-unite with the Jarrett. These events delayed

completion of the search of the Rio Mar, includillg the at sea space 100% accountability search. The

duration of the detention ofthe Rio Mar crew is an additional factor in the totality of circumstances

considered in determining whether they were "in custody" for purposes of Miranda. Portillo

confirmed that the crew was not free to leave during the entire time.

        The Government points out that after the vessel was secured, the crew was uncuffed,

"mustered" to the bow ofthe Rio Mar while the initial safety inspection was completed and that they

were "transferred" to the main berth~ngarea. (Dkt 94, p. 2). The Government further argues that

the crew was "housed in t h ~ area
                              s of the vessel to provrde them w ~ t hprotection from the weather

elements, while also allowing them to cook for themselves in the galley, to sleep in their own

berthing areas, to use the bathroom, and to perform chores as necessary." Id. This descriptioll of

what the crew of the RIOMar endured for four days neglects to acknowledge that the crew was

confined to a small area of the vessel below deck the entire time, prevented from going topside

without an armed escort and even prevented from using the bathroom without an armed escort.

Telling is the Government's own description of the events on the Rio Mar during the detention, by

use of terms consistent with the type of restraint associated with a formal arrest:

                  The 'boarding team then secured the crew on the bow."
                  "[Tlhe crew was tran.$erred to the main berthing area."
                  The "USCG maintained a securiw watch over the crew."
(Dkt. 94, p. 2)

       These descriptions depict individuals who are suspected of crimes being arrested and

detained in the custody of armed guards while a criminal investigation is completed. Short of ajail

cell or the use of shackles. it is d~l'ficultto envlsion a more restrictwe environment G~venthe force
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used, the confinemeilt of the crew under armed guard and the delayed detention while the Coast

Guard completed its criminal investigation, the Court finds that the crew of the Rio Mar was in

custody for purposes of Miranda,

        Accordingly, all statements made by any Rio Mar crew member as a result of questioning by

the Coast Guard boarding team are suppressed, with the exception of rhe individual crew member's

 identification of themselves and their native country. Spontaneous statements made by the Captain

 a s he walkcd with Portillo to the port side of the bow that they "knew you were coming" (or words

 t o that effect) and when the crew was directed to move the nets are not subject to suppression

         DONE AND ORDERED this          2day of May, 200%

                                                      UG*~    States District Judge


 Copies to: Counsel of Record
